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                       Exhibit 6
                 TO UNITED STATES’ BILL OF COSTS
                                                                                                      Exhibit 6
                                                                     Fees for exemplification and the costs of making copies, 28 U.S.C. § 1920(4)

                                                                                                                                                  Additional Phase II
   Fees for exemplification and
                                                                                                                                                         Prorate               Amount Owed by
  the costs of making copies, 28         Date           Cost                  Amount Paid by US       Prorate %            Prorated Amount                                                           Page(s)
                                                                                                                                                (April ‐ June Trial Cuts         Anadarko
         U.S.C. § 1920(4)
                                                                                                                                                          Only)

   Costs of April 2013 Trial Cuts
                                         Apr‐13     $     134,853.68      $             67,426.84      14.07%          $             9,486.96            70%               $            6,640.87    1‐2; 3‐40
           (Worldwide)

   Costs of May 2013 Trial Cuts
                                        May‐13      $     140,541.86      $             70,270.93      23.52%          $            16,527.72            70%               $           11,569.41    1‐2; 41‐59
           (Worldwide)
   Costs of June 2013 Trial Cuts
                                         Jun‐13     $      93,769.14      $             46,884.57      88.16%          $            41,333.44            70%               $           28,933.41    1‐2; 60‐72
           (Worldwide)
   Costs of July 2013 Trial Cuts
                                         Jul‐13     $     109,849.75      $             54,924.88      70.00%          $            38,447.41                              $           38,447.41    1‐2; 73‐87
           (Worldwide)
  Costs of August 2013 Trial Cuts
                                         Aug‐13     $     237,089.43 $                 118,544.72      70.00%          $            82,981.30                              $           82,981.30   1‐2; 88‐103
           (Worldwide)
Costs of September 2013 Trial Cuts
                                         Sep‐13     $     427,432.34 $                 213,716.17      70.00%          $           149,601.32                              $          149,601.32   1‐2; 104‐132
           (Worldwide)
 Costs of October 2013 Trial Cuts
                                         Oct‐13     $     389,264.25 $                 194,632.13      70.00%          $           136,242.49                              $          136,242.49   1‐2; 133‐157
           (Worldwide)
Costs of November 2013 Trial Cuts
                                         Nov‐13     $     146,363.28      $             73,181.64      70.00%          $            51,227.15                              $           51,227.15   1‐2; 158‐171
           (Worldwide)
 Costs of Phase 3 Public Website
                                       01/31/2015   $          1,356.25   $              1,356.25                      $             1,356.25                              $            1,356.25       172
         Services (Avansic)
 Costs of Phase 3 Public Website
                                       03/31/2015   $           700.00 $                   700.00                      $               700.00                              $              700.00       173
         Services (Avansic)
    Costs of Phase 3 Exhibit
                                       10/1/2014‐
  Management and Production                         $     100,837.50 $                 100,837.50      84.00%          $            84,703.50                              $           84,703.50     174‐190
                                       11/30/2014
            (inData)

 Costs of Phase 3 Trial Exhibit List   3/6/2015/‐
                                                    $      22,031.15      $             22,031.15      84.00%          $            18,506.17                              $           18,506.17     191‐198
   and Management (inData)             5/15/2015


    Costs of Phase 3 Exhibit
 Management and Production; At         12/1/2014‐
                                                    $     265,868.31 $                 265,868.31      84.00%          $           223,329.38                              $          223,329.38     199‐247
  Trial Service and Equipment           2/1/2015
     Management (inData)


TOTAL                                                                                                                                                                      $          834,238.65
                                                                                                                                                                                                                  Case 2:10-md-02179-CJB-DPC Document 15835-6 Filed 02/08/16 Page 2 of 2




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